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                                  March 21, 2023

The Honorable Maryellen Noreika
United States District Judge
U.S. District Court of Delaware
844 N. King St.
Wilmington, DE 19801

RE: Mac Isaac v. Cable News Network, Inc. et al.,
    Case No.: 1:21-cv-00247-MN

Dear Judge Noreika,

        I write this letter in response to Mr. Lowell and Mr. Dalton’s letter to the
Court on March 17, 2023, as it is unusual for the one party to present a discovery
plan to the Court with the names of specific deponents prior to a Rule 26(f)
discovery conference. Plaintiff is concerned that this tactic was implemented to
alert the media of Defendant Biden’s plan to depose high profile individuals rather
than for legitimate scheduling. Plaintiff will respond to Defendant Bident’s
Counterclaims in a timely fashion. After Plaintiff formally responds to Defendant
Biden’s counterclaims, the Plaintiff will reach out to all parties to schedule a Rule
26(f) Discovery Conference.

       Pursuant to Local Rule 81.2, at the time of the Notice of Removal,
Defendants Politico LLC and Cable News Networks, Inc. had pending Motions to
Dismiss. In response to those Motions, Plaintiff had a pending Motion for Leave to
File a Second Amended Complaint.
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            Sincerely,


            /s/ Ronald G. Poliquin          /s/ Brian R. Della Rocca
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cc: All counsel of record (via CM/ECF)
